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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                EL DORADO DIVISION

UNITED STATES OF AMERICA                                                              PLAINTIFF


v.                                   Case No. 1:19-cv-1058


MEGAN T. HARRIS                                                                    DEFENDANT

                                            ORDER

       Before the Court is Plaintiff’s Unopposed Motion to Dismiss. (ECF No. 28). No response

is necessary.

       Plaintiff asks that this case be dismissed without prejudice. Defendant does not oppose the

request. At a plaintiff’s request, an action or claim may be dismissed by court order, on terms the

Court considers proper. Fed. R. Civ. P. 41(a)(2). “Voluntary dismissal under Rule 41(a)(2) should

not be granted if a party will be prejudiced by the dismissal.” Adams v. USAA Cas. Ins. Co., 863

F.3d 1069, 1079 (8th Cir. 2017).

       The Court finds good cause for the motion to dismiss (ECF No. 28), which is hereby

GRANTED. This case is DISMISSED WITHOUT PREJUDICE.

       IT IS SO ORDERED, this 8th day of July, 2022.

                                                            /s/ Susan O. Hickey
                                                            Susan O. Hickey
                                                            Chief United States District Judge
